                      Case 1:21-mj-00326-RMM Document 1 Filed 03/19/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                            District of &ROXPELD

                  United States of America                              )
                             v.                                         )
   Bradley Stuart Bennett , (DOB: XX/XX/XXXX)                           )      Case No.
   Elizabeth Rose Williams, (DOB: XX/XX/XXXX)                           )
                                                                        )
                                                                        )
                                                                        )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                    January 6, 2021                 in the county of                                         in the
                         in the 'LVWULFWRf       &ROXPELD , the defendant(s) violated:

Code Section                                                         Offense Description

Defendant Bradley Stuart Bennett: 18 U.S.C. §§ 1752(a)(1), and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority and with Intent to Impede or Disrupt the Orderly Conduct of Government Business or Official Functions); 40 U.S.C. § 5104(e)(2)(D) and
§ 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds; 40 U.S.C. § 5104(e)(2)(B) - Enter or Remain in the Gallery of either House of
Congress; and 18 U.S.C. § 1512(c)(2) - Obstruction of Justice/Official Proceeding.

Defendant Elizabeth Rose Williams: 18 U.S.C. §§ 1752(a)(1), and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority and with Intent to Impede or Disrupt the Orderly Conduct of Government Business or Official Functions); and 40 U.S.C. § 5104(e)(2)(D)
and § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.
          This criminal complaint is based on these facts:
   6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u   Continued on the attached sheet.


                                                                                                     Complainant’s signature

                                                                                       William C. Borromeo, Special Agent
                                                                                                     Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                               2021.03.19
                                                                                                               11:40:27 -04'00'
Date:             03/19/2021
                                                                                                        Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                     Printed name and title
